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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION



UNITED STATES OF AMERICA                                            PLAINTIFF


vs.                            NO: 05 cr 00305 (24) JFF

MARK DUANE LEE                                                      DEFENDANT


                                             ORDER

       On April 4, 2006, the Court convened for hearing on the Government’s Motions to

Revoke defendant Lee’s conditions of release (DE# 389, 404 & 405).

       Ancillary to the revocation motion, the parties jointly moved in open court, pursuant to

18 U.S.C. §§ 4241(a), for a determination of the defendant's mental competency. The Court

finds that there is reasonable cause to believe that the defendant may presently be suffering from

a mental condition which would render him mentally incompetent to understand the nature and

consequences of the proceedings against him or to assist properly in his defense. The

Government’s Motions for revocation (DE# 389, 404 & 405) are GRANTED.

        It is therefore ordered:

       (1) That, pursuant to 18 U.S.C. § 4247(b) and (c), Defendant Mark Duane Lee is hereby

committed to the custody of the Attorney General or his authorized representative for a period

not to exceed thirty (30) days for a psychiatric examination pursuant to § 4241. The examination

period herein shall commence on the date of arrival of the defendant at the assigned Federal

medical facility.


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       (2) That, pursuant to 18 U.S.C. § 4247(c), the facility conducting such examination shall

file a report of same with this Court with copies to counsel for the Defendant and the attorney for

the government.

       (3) That the Defendant remain in custody of the United States Marshal or his designated

representative and be transported to the facility as soon as possible.

       (4) That any delay in commencing the trial of this case occasioned by the examination

ordered herein shall be excludable under the provisions of the Speedy Trial Act as provided by

18 U.S.C. § 3161(h)(1)(A).

       IT IS SO ORDERED this 4th day of April, 2006.



                                                  /s/ John F. Forster, Jr.
                                              UNITED STATES MAGISTRATE JUDGE




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